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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK
________________________________________________________________________


NAMEL NORRIS,                                        CASE NO: 1:19-cv-08925

       Plaintiff,

vs.                                                  COMPLAINT

GREGORYS COFFEE MANAGEMENT
LLC, a New York limited liability company,
d/b/a GREGORYS COFFEE, and GSH
ASSOCIATES, LLC, a New York limited
liability company,

      Defendants.
___________________________________/

       Plaintiff, NAMEL NORRIS (hereinafter the “Plaintiff”), through his undersigned

counsel, hereby files this Complaint and sues GREGORYS COFFEE MANAGEMENT

LLC, a New York limited liability company, d/b/a GREGORYS COFFEE, and GSH

ASSOCIATES, LLC, a New York limited liability company, (hereinafter, collectively,

the “Defendants”), for injunctive relief, attorney’s fees and costs (including, but not

limited to, court costs and expert fees) pursuant to 42 U.S.C. §12181, et. seq., of the

AMERICANS WITH DISABILITIES ACT (“ADA”), the NEW YORK CITY HUMAN

RIGHTS LAW ("NYCHRL"), and the NEW YORK STATE HUMAN RIGHTS LAW

(“NYSHRL”) and alleges:

                           JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III

of the Americans With Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred




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to as the “ADA”). This Court is vested with original jurisdiction under 28 U.S.C. §1331

and §343.

       2.      Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all

events giving rise to this lawsuit occurred in New York.

       3.      The remedies provided by the New York State Human Rights Law are not

exclusive and state administrative remedies need not be exhausted in connection with

suits brought under the Federal Civil Rights Act.

       4.      At the time of Plaintiff’s visit to GREGORYS COFFEE, prior to

instituting the instant action, NAMEL NORRIS, (hereinafter referred to as “Plaintiff”)

was a resident of the City and State of New York, suffered from what constitutes a

“qualified disability” under the Americans With Disability Act of 1990, as he is a

paraplegic and uses a wheelchair for mobility.           The Plaintiff personally visited

Defendants’ Property, but was denied full and equal access to, and full and equal

enjoyment of, the facilities at Defendants’ Property, which is the subject of this lawsuit.

       5.      The Defendants, GREGORYS COFFEE MANAGEMENT LLC, a New

York limited liability company, d/b/a GREGORYS COFFEE, and GSH ASSOCIATES,

LLC, a New York limited liability company, are authorized to conduct, and are

conducting business within the State of New York.           Upon information and belief,

GREGORYS COFFEE MANAGEMENT LLC, is the lessee and/or operator of the real

property (hereinafter and heretofore referred to collectively as “Defendants’ Property”),

and the owner of the improvements where the Subject Facility is located which is the

subject of this action, the facility commonly referred to as GREGORYS COFFEE

(hereinafter the “Subject Facility”) located at 630 9th Avenue, New York, New York




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(hereinafter and heretofore referred to collectively as “Defendants’ Property”), and

maintains and controls the Subject Facility.       Upon information and belief, GSH

ASSOCIATES, is the owner, lessor and/or operator of the real property where the

Subject Facility is located which is the subject of this action, the facility commonly

referred to as GREGORYS COFFEE, located at 630 9th Avenue, New York, New York

(hereinafter and heretofore referred to collectively as “Defendants’ Property”), and

maintains and controls the Subject Facility.

       6.      All events giving rise to this lawsuit occurred in the City of New York,

State of New York. Venue is proper in this Court as the premises is located in the State

of New York.

 COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       7.      On or about July 26, 1990, Congress enacted the Americans With

Disabilities Act (“ADA”), 42 U.S.C. §12101 et. seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of the Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508(a).

       8.      Congress found, among other things, that:

               (i)     some 43,000,000 Americans have one or more physical
               or mental disabilities, and this number shall increase as the
               population continues to grow older;

               (ii)     historically, society has tended to isolate and segregate
               individuals with disabilities, and, despite some improvements,
               such forms of discrimination against disabled individuals
               continue to be a pervasive social problem, requiring serious
               attention;

               (iii)   discrimination against disabled individuals persists in
               such    critical areas as employment, housing, public



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               accommodations, transportation, communication, recreation,
               institutionalization, health services, voting and access to public
               services and public facilities;

               (iv)      individuals with disabilities continually suffer forms of
               discrimination, including outright intentional exclusion, the
               discriminatory effects of architectural, transportation, and
               communication barriers, failure to make modifications to existing
               facilities and practices. Exclusionary qualification standards and
               criteria, segregation, and regulation to lesser services, programs,
               benefits, or other opportunities; and,

              (v)       the continuing existence of unfair and unnecessary
               discrimination and prejudice denies people with disabilities the
               opportunity to compete on an equal basis and to pursue those
               opportunities for which our country is justifiably famous, and
               costs the United States billions of dollars in unnecessary expenses
               resulting from dependency and non-productivity.

               42 U.S.C. §12101(a)(1)-(3), (5) and (9).

       9.      Congress explicitly stated that the purpose of the ADA was to:

               (i)     provide a clear and comprehensive national mandate for
               the elimination of discrimination against individuals with
               disabilities;

               (ii)   provide clear, strong, consistent, enforceable standards
               addressing discrimination against individuals with disabilities;
               and,

               (iii)  invoke the sweep of congressional authority, including the
               power to enforce the fourteenth amendment and to regulate
               commerce, in order to address the major areas of discrimination
               faced on a daily by people with disabilities.

               42 U.S.C. §12101(b)(1)(2) and (4).

       10.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Subject

Facility is a place of public accommodation in that it is an establishment which provides

goods and services to the public.




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       11.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building

and/or Subject Facility which is the subject of this action is a public accommodation

covered by the ADA and which must be in compliance therewith.

       12.     The Plaintiff is informed and believes, and therefore alleges, that the

Subject Facility has begun operations, and/or undergone substantial remodeling, repairs

and/or alterations, since January 26, 1990, and/or has sufficient income to make readily

achievable accessibility modifications.

       13.     Defendants have discriminated, and continue to discriminate, against the

Plaintiff, and others who are similarly situated, by denying full and equal access to, and

full and equal enjoyment of, goods, services, facilities, privileges, advantages and/or

accommodations at Defendants’ Property, in derogation of 42 U.S.C. §12101 et. seq., and

as prohibited by 42 U.S.C. §12182 et. seq., and by failing to remove architectural barriers

pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily achievable.

       14.     The Plaintiff has been unable to, and continues to be unable to, enjoy full

and equal safe access to, and the benefits of, all the accommodations and services offered

at Defendants’ Property. Prior to the filing of this lawsuit, Plaintiff personally visited

Defendants’ Property, with the intention of using Defendants’ facilities, but was denied

access to the Subject Property, and therefore suffered an injury in fact. In addition,

Plaintiff continues to desire to visit the Subject Property in the future, but continues to be

injured in that he is unable to and continues to be discriminated against due to the

architectural barriers which remain at Subject Property, all in violation of the ADA, and

the New York State Human Rights Law.




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        15.          Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal Regulations

to implement the requirements of the ADA, known as the Americans with Disabilities

Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which

said Department may obtain civil penalties of up to $110,000 for the first violation and

$150,000 for any subsequent violation.

        16.          The Defendants’ Subject Facility is in violation of 42 U.S.C. §12181 et.

seq., the ADA and 28 C.F.R. §36.302 et. seq., and is discriminating against the Plaintiff

as a result of inter alia, the following specific violations:

              (i)       Failure to provide an accessible entrance to the Subject Facility due to

                        a step at said entrance, without an ADA-compliant ramp and/or an

                        ADA-compliant wheelchair lift, in violation of 28 C.F.R. Part 36,

                        Section 4.14.

              (ii)      Failure to install the required rear grab bar in the restroom, around an

                        accessible toilet, in accordance with 28 C.F.R. Part 36, Section 4.17.6.

              (iii)     Failure to install the required side grab bar in the restroom, around an

                        accessible toilet, in accordance with 28 C.F.R. Part 36, Section 4.17.6.

              (iv)      Failure to provide at least 17 inches of depth clearance under the

                        lavatory in the restroom, as required by 28 C.F.R. Part 36, Section

                        4.19.2.

              (v)       Failure to provide the required underside clearance of at least 29

                        inches above the finished floor to the bottom of the apron under the




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            lavatory in the restroom, for accessibility in compliance with 28 C.F.R.

            Part 36, Section 4.1 and Section 4.19.2.

    (vi)    Failure to install an accessible mirror in the restroom, in compliance

            with 28 C.F.R. Part 36, Section 4.19.6.

    (vii)   Failure to provide an accessible soap dispenser in the restroom, as

            required by 28 C.F.R. Part 36, Section 4.2.

    (viii) Failure to provide insulation on the exposed hot water and drainpipes

            under the lavatory in the restroom to prevent burns and scrapes, as

            required by 28 C.F. R. Part 36, Section 4.19.4.

    (ix)    Failure to provide ADA-compliant signage at the restroom area, in

            violation of 28 C.F.R. Part 36, Section 4.30.

    (x)     The self-service napkin dispenser, straws, cutlery, condiments, stirrers,

            and sugar, located on top of high counter, are at inaccessible reach

            ranges, in violation of the requirements of 28 C.F.R. Part 36, Section

            5.6.

    (xi)    The self-service water dispenser and plastic cups, located on top of

            high counter, are at an inaccessible height, in violation of the

            requirements of 28 C.F.R. Part 36, Section 5.6.

    (xii)   Various “Mobile Order Pickup” shelves are at inaccessible heights, in

            violation of the requirements of 28 C.F.R. Part 36.

    (xiii) Failure to provide adequate directional and accurate informational

            signage throughout the Subject Facility, as required by 28 C.F.R. Part

            36, Section 4.1.3(16).




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              (xiv)   Failure to provide signage in the Subject Facility addressing people

                      with disabilities telling them that accessible services are provided, as

                      required by 28 C.F.R. Part 36, Section 4.30.4.

       17.       Upon information and belief, there are other current violations of the ADA

at Defendants’ Property, and only once a full inspection is done can all said violations be

identified.

       18.       To date the architectural barriers, the removal of which is readily

achievable, and other violations of the ADA still exist and have not been remedied or

altered in such a way as to effectuate compliance with the provisions of the ADA.

       19.       Pursuant to the ADA, 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, the

Defendants were required to make the Subject Facility, a place of public accommodation,

accessible to persons with disabilities since January 28, 1992. To date, the Defendants

have failed to comply with this mandate.

        20.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant the Plaintiff’s injunctive relief; including an order to alter the Subject Facility to

make it independently accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the Subject Facility until the requisite

modifications are completed.

COUNT II - VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

        21.      The New York City Human Rights Law provides:

                 (a) It shall be an unlawful discriminatory practice for any person, being
                 the owner, lessee, proprietor, manager, superintendent, agent or
                 employee of any place or provider of public accommodation because of
                 the actual or perceived … disability … of any person, directly or
                 indirectly, to refuse, withhold from or deny to such person any of the
                 accommodations, advantages, facilities or privileges thereof … to the



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                effect that any of the accommodations, advantages, facilities and
                privileges of any such place or provider shall be refused, withheld from
                or denied to any person on account of … disability …

                NYC Admin. Code § 8-107(4)(a).

        22.     Defendants, GREGORYS COFFEE MANAGEMENT LLC, a New York

limited liability company, d/b/a GREGORYS COFFEE, and GSH ASSOCIATES, LLC,

a New York limited liability company, are in violation of the New York City Human

Rights Law by denying the Plaintiff full and           safe access to all of the benefits,

accommodations and services of the Subject Facility.

        23.     The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through

20 as if set forth in their entirety here.

 COUNT III - VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

        24.     The New York State Human Rights Law provides:

                (a) It shall be an unlawful discriminatory practice for any person, being
                the owner, lessee, proprietor, manager, superintendent, agent or
                employee of any place of public accommodation…. because of the …
                disability … of any person, directly or indirectly, to refuse, withhold
                from or deny to such person any of the accommodations, advantages,
                facilities or privileges thereof … to the effect that any of the
                accommodations, advantages, facilities and privileges of any such place
                shall be refused, withheld from or denied to any person on account of …
                disability …

                NYS Exec. Law § 296 (2)(a).

        25.     Defendants’ Property is a place of public accommodation as defined in the

New York State Human Rights Law.

        26.     The Defendants have further violated the New York State Human Rights

Law by being in violation of the rights provided under the ADA.




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        27.     Defendants, GREGORYS COFFEE MANAGEMENT LLC, a New York

limited liability company, d/b/a GREGORYS COFFEE, and GSH ASSOCIATES, LLC,

a New York limited liability company, are in violation of the New York State Human

Rights Law by denying the Plaintiff full and safe access to all of the benefits,

accommodations and services of the Subject Facility.

        28.     The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through

22 as if set forth in their entirety here.

           COUNT IV - VIOLATION OF THE ADMINISTRATIVE CODE
                        OF THE CITY OF NEW YORK

        29.   The Defendants have subjected, and continues to subject, Plaintiff to

disparate treatment by directly and/or indirectly refusing, withholding, and denying the

full accommodations of the Subject Facility, and advantages, facilities and privileges of

its place of public accommodation, all because of disability, in violation of

Administrative Code § 8-107(4).

        30.   The Defendants have discriminated against Plaintiff in violation of

Administrative Code of the City of New York, § 8-107(4), and Local Law 58 by

maintaining and/or creating an inaccessible place of public accommodation.

        31.   The Local Civil Rights Restoration Act of 2005 (the "Restoration Act"), also

known as Local Law 58, clarified the scope of the Administrative Code in relation to the

New York City's Human Rights Law. The Restoration Act confirmed the legislative

intent to abolish "parallelism" between the Administrative Code and the Federal and New

York State anti-discrimination laws by stating as follows:

        The provisions of this title shall be construed liberally for the
        accomplishment of the uniquely broad and remedial purposes thereof,
        regardless of whether federal or New York State civil and human rights



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        laws, including those laws with provisions comparably-worded to
        provisions of this title, have been so construed.

Restoration Act § 7 amending Administrative Code § 8-130 (emphasis added).

        32.   The Administrative Code is to be construed broadly in favor of Plaintiff to

the fullest extent possible. Albunio v. City of New York, 2011 NY Slip Op 02480 (N.Y.

Court of Appeals, March 31, 2011).

        33.   As a direct and proximate result of the Defendants' unlawful discrimination,

in violation of Administrative Code of the City of New York, Plaintiff has suffered an

injury in fact.

        34.   The Defendants' long-standing refusal and/or lack of effort to make the

Subject Facility fully accessible was egregious and undertaken with reckless disregard to

Plaintiff's rights under the Administrative Code.

        35.   By failing to comply with the law in effect for decades, the Defendants have

articulated to disabled persons, such as the Plaintiff, that they in effect are not welcome

and not desired as patrons of its place of public accommodation.

        36.   The Defendants unlawful discriminatory conduct constitutes willful and

wanton violations of the Administrative Code for which Plaintiff is entitled to an award

of punitive damages. Administrative Code § 8-502.

        37.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through

27 as if set forth in their entirety here.

                                ATTORNEYS’ FEES AND COSTS

        38.   The Plaintiff has been obligated to retain the undersigned counsel for the

filing and prosecution of this action. The Plaintiff is entitled to have his reasonable




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attorneys’ fees, costs and expenses paid by the Defendants, pursuant to the ADA and the

New York City Human Rights Law.

       39.   Plaintiff prays for judgment pursuant to N.Y. Exec. Law § 297, including

compensatory damages contemplated by § 297(9).

                                       DAMAGES

       40.   The Plaintiff demands one thousand dollars ($1,000.00) in compensatory

damages based on Defendants' violation of the New York City Human Rights Law and

the New York State Human Rights Law, plus punitive damages pursuant to the

Administrative Code of the City of New York.

                                    INJUNCTIVE RELIEF

       41.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to

grant the Plaintiff’s injunctive relief; including an order to alter the Subject Facility to

make it readily accessible to, and useable by, individuals with disabilities to the extent

required by the ADA, the New York City Human Rights Law, and the New York State

Human Rights Law and closing the Subject Facility until the requisite modifications are

completed.

       WHEREFORE, the Plaintiff hereby demands judgment against the Defendants

and requests the following injunctive and declaratory relief:

       A.      The Court declare that the subject property and Subject Facility owned,

               operated, leased, controlled and/or administered by the Defendants are

               violative of the ADA, the New York City Human Rights Law, and of the

               New York State Human Rights Law;




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       B.     The Court enter an Order requiring the Defendants to alter their facilities

              and amenities to make them accessible to and usable by individuals with

              disabilities to the full extent required by the Title III of the ADA and by

              NYCHRL, and the NYSHRL;

       C.     The Court enter an Order directing the Defendants to evaluate and

              neutralize their policies, practices and procedures toward persons with

              disabilities, for such reasonable time so as to allow the Defendants to

              undertake and complete corrective procedures to the Subject Facility;

       D.     The Court award reasonable attorney’s fees, all costs (including, but not

              limited to court costs and expert fees) and other expenses of suit, to the

              Plaintiff; and

       E.     The Court award such other and further relief as it deems necessary, just

              and proper.

Dated: This 25th day of September, 2019.

                                            Respectfully submitted,

                                            By: /S/ B. Bradley Weitz            .
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